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                                                          Electronically Filed
                                                          Supreme Court
                                                          SCWC-29794
                                                          28-JAN-2014
                                                          10:02 AM


       IN THE SUPREME COURT OF THE STATE OF HAWAI#I

                            ---o0o---


                            SCWC-29794

     STATE OF HAWAI#I, Respondent/Plaintiff-Appellee,

                                vs.

NELSON KUUALOHA ARMITAGE, Petitioner/Defendant-Appellant.
          (ICA NO. 29794; CASE NO. 2P106-02017)


                            SCWC-29795

     STATE OF HAWAI#I, Respondent/Plaintiff-Appellee,

                                vs.

  RUSSELL K. KAHOOKELE, Petitioner/Defendant-Appellant.
          (ICA NO. 29795; CASE NO. 2P106-02018)


                            SCWC-29796

     STATE OF HAWAI#I, Respondent/Plaintiff-Appellee,

                                vs.

    HENRY MAILE NOA, Petitioner/Defendant-Appellant.
          (ICA NO. 29796; CASE NO. 2P106-01909)


           SCWC-29794, SCWC-29795 AND SCWC-29796

     CERTIORARI TO THE INTERMEDIATE COURT OF APPEALS

                        January 28, 2014
 ACOBA, McKENNA, AND POLLACK, JJ.; WITH RECKTENWALD, C.J.,
  CONCURRING AND DISSENTING, WITH WHOM NAYAKAMA, J., JOINS
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                     OPINION OF THE COURT BY ACOBA, J.

            We hold that the complaints filed by the Respondent/

Plaintiff-Appellee State of Hawai#i (the State) against

Petitioners/Defendants-Appellants Nelson Kuualoha Armitage

(Armitage), Russel Kahookele (Kahookele), and Henry Maile Noa

(Noa) (collectively, Petitioners) of the offense of Entrance into

the Reserve (Kaho#olawe Reserve or the Reserve), Hawai#i

Administrative Rule (HAR) § 13-261-10 (2002)1 must be dismissed

without prejudice because the charges failed to charge the

requisite state of mind of intentionally, knowingly, or

recklessly.    See State v. Apollonio, 130 Hawai#i 353, 354, 311

P.3d 676, 677 (2013).       Because of the likelihood of retrial, we




      1
            HAR § 13-261-10 provides:

            No person or vessel shall enter or attempt to enter into or
            remain within the reserve unless such person or vessel:
                  (a) Is specifically authorized to do so by the
                  commission or its authorized representative as
                  provided in section 13-261-11; or,
                  (b) Is specifically authorized to do so through a
                  written agreement approved by the commission; or,
                  (c) Is trolling in zone B, in compliance with section
                  13-361-13(b)(3); or,
                  (d) Must enter the reserve to prevent probable loss of
                  vessel or human life, provided that:
                        (1) Prior to entering the reserve
                        and at reasonable intervals
                        thereafter, such person shall make
                        every reasonable effort to notify
                        the commission staff or the United
                        States Coast Guard that loss of
                        vessel or human life is probable;
                        (2) All fishing gear shall be stowed
                        immediately upon entering the reserve; and
                        (3) Such person shall vacate the reserve
                        immediately after the threat of probable
                        loss of vessel or human life has passed.

(Emphasis added.)   HAR § 13-261-11 (2002) is set forth infra at n.11.

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discuss the questions raised in the September 16, 2013

application for writ of certiorari (Application) filed by

Petitioners, and conclude (1) there was sufficient evidence

adduced at trial to sustain Petitioners’ conviction, (2)

Petitioners did not “reasonably exercise[]” their

constitutionally protected native Hawaiian rights, see State v.

Hanapi, 89 Hawai#i 177, 184, 970 P.2d 485, 493 (1998), (3)
because Petitioners were subject to penal liability pursuant to

HAR § 13-261-10, they have “a claim of specific present objective

harm”, City &amp; Cnty. of Honolulu v. Ariyoshi, 67 Haw. 412, 419,

689 P.2d 757, 765 (1984), and therefore have standing to

challenge the constitutionality of that regulation, (4) Art. XII,

section 7 of the Hawai#i Constitution does not create a separate

right to nation-building, (5) Petitioners’ purpose to claim and

manage, control and subsequently occupy Kaho#olawe involved

conduct outside the scope of any first amendment right to freedom

of speech, (6) HAR §§ 13-261-10 or -11 does not abridge the
constitutional right under the Hawai#i Constitution to engage in

traditional and customary native Hawaiian practices, and (7)

Petitioners’ practice of religion was not substantially burdened

by HAR §§ 13-261-10 and -11.       Accordingly, we vacate the July 17,

2013 judgment of the Intermediate Court of Appeals (ICA) and the

April 3, 2009 judgments of the District Court of the Second




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Circuit (the court)2 and remand the case for disposition

consistent with this opinion.

                                    I.

                                    A.

          This case arises from three separate complaints filed

by the State against Armitage, Kahookele, and Noa, alleging that,

as noted, each defendant committed the offense of Entrance into
the Reserve, HAR § 13-261-10.       The complaint against Armitage and

the complaint against Kahookele were filed on August 22, 2006,

and the complaint against Noa was filed on August 28, 2006.                The

complaints stated as follows:
                The STATE OF HAWAI#I, through the undersigned, its
          Deputy Prosecuting Attorney, hereby accuses and charges the
          Defendant as follows:

                That on or about the 31st day of July, 2006, in the
          Division of Wailuku, County of Maui, State of Hawaii, [the
          defendant] did enter or attempt to enter into, or remain
          within the Kaho#olawe Island Reserve without being
          specifically authorized to do so by the commission or its
          authorized representative, thereby committing the offense of
          Entrance Into the Reserve, in violation of Section 13-261-10
          of the [HAR], Department of Land and Natural Resources.

Petitioners all pled not guilty to the offense.
          On October 18, 2006, Petitioners filed a Motion to

Consolidate their cases pursuant to Hawai#i Rules of Penal

Procedure (HRPP) Rule 13 (2006)3.        In the Motion to Consolidate,


     2
          The Honorable Simone C. Polak presided.

     3
          HRPP Rule 13 provides, in relevant part:

          (a) Generally. The court may order consolidation of two or
          more charges for trial if the offenses, and the defendants
          if there are more than one, could have been joined in a
          single charge.



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Petitioners noted that the only difference in factual

circumstances among Petitioners was that Noa was on a boat on the

waters of the Kaho#olawe Reserve, while Armitage and Kahookele

were on land in the Reserve.       The court held a hearing on the

Motion to Consolidate on October 26, 2006 and granted the Motion

to Consolidate.

                                    B.
           On January 9, 2007, Petitioners filed a Motion to

Dismiss pursuant to HRPP Rule 12 (2006)4.         In their Memorandum in

Support of the Motion to Dismiss, Petitioners appeared to

challenge the court’s jurisdiction, offer defenses to the charge,

and bring a constitutional challenge to the validity of HAR § 13-

261-10.   Among these arguments, Petitioners asked the court to

recognize their Restored Hawaiian Government (also referred to as

the Reinstated Kingdom of Hawai#i or Reinstated Nation of Hawai#i)

as “the sovereign Native Hawaiian entity” pursuant to Hawai#i




     4
           HRPP Rule 12 provides, in relevant part:

           (b) Pretrial motions. Any defense, objection, or request
           which is capable of determination without the trial of the
           general issue may be raised before trial by Motion. Motions
           may be written or oral at the discretion of the judge. The
           following must be raised prior to trial;
                 (1) defenses and objections based on defects in
                 the institution of the prosecution;
                 (2) defenses and objections based on defects in
                 the charge (other than that it fails to show
                 jurisdiction in the court or to charge an
                 offense which objections shall be noticed by the
                 court at any time during the pendency of the
                 proceedings)[.]




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Revised Statutes (HRS) § 6K-9 (1993)5.         Petitioners argued, inter

alia, that the charges should be dismissed because Petitioners

could prove the defense of privilege under Public Access

Shoreline Hawai#i v. Hawai#i County Planning Commission (“PASH”),

79 Hawai#i 425, 903 P.2d 1246 (1995), and Hanapi, and that the

regulations were unconstitutional.         As an attachment to the

Motion to Dismiss, Petitioners included a Declaration of Noa,
which stated that he is the “democratically elected Prime

Minister of the Reinstated Hawaiian Nation” and concluded as

follows: “[i]n sum, the Kingdom of Hawaii/Government has

reemerged with a working, sovereign government and demands the

return of all Kingdom assets and the State of Hawai#i immediately

return the island of Kahoolawe to the Kingdom of

Hawaii/Government.”

            In its Memorandum in Opposition to the Motion to

Dismiss, filed on July 17, 2007, the State argued, inter alia,

that the court had jurisdiction, Petitioners admitted the
violation, the relevant administrative rules and statutes were


      5
            HRS § 6K-9 provides:

            Upon its return to the State, the resources and waters of
            Kaho#olawe shall be held in trust as part of the public land
            trust; provided that the State shall transfer management and
            control of the island and its waters to the sovereign native
            Hawaiian entity upon its recognition by the United States
            and the State of Hawai#i.

            All terms, conditions, agreements, and laws affecting the
            island, including any ongoing obligations relating to the
            clean-up of the island and its waters, shall remain in
            effect unless expressly terminated.

(Emphasis added.)

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constitutional, and that the court was not the proper forum to

recognize the Reinstated Kingdom of Hawai#i as a sovereign

nation.

           Petitioners filed a reply on July 26, 2007, asserting

what they termed the “Lorenzo defense” based on the ICA’s

decision in State v. Lorenzo, 77 Hawai#i 219, 883 P.2d 641 (App.

1994), that future courts would consider evidence and arguments
in support of recognition of the inherent sovereignty of native

Hawaiians.   Petitioners also maintained that they are citizens of

a nation rather than a group and that “[t]he fact that there are

other ‘groups’ out there, or that the State is trying to create

its own domestic dependent nation (as opposed to a true-sovereign

nation - the type of nation for which Kahoolawe is held in trust)

is not relevant to [the Lorenzo] defense.”

           The court held evidentiary hearings on the Motion to

Dismiss.   On July 27, 2007, John Gates (Gates) testified for

Petitioners as an expert in the areas of self-determination of
indigenous people and international law.         The hearing was

continued to January 25, 2008.       Petitioner Noa testified on his

own behalf regarding his status as “Prime Minister of the

Reinstated Hawaiian Government” and about the underlying

incident, which he stated was undertaken to pursue the

reinstatement of the Kingdom of Hawai#i.

           The next hearing took place on April 4, 2008.           At the

outset, the court indicated that the parties would give a brief

oral summary of what they believed the evidence had shown and
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provided that the parties were in agreement, they would submit

written arguments as well as proposed findings of fact and

conclusions of law.      The court would then make its decision and

if necessary, advise the parties of the trial date and set a

pretrial at which further issues could be addressed.             Then,

Petitioner Noa continued his testimony and was cross-examined by

the State.
             Petitioners’ attorney indicated that Petitioners “would

treat this hearing as if Mr. [Armitage] and Mr. Kahookele also

testified, and with the exception of their position within their

elected government[6], their testimony would mirror that of Mr.

Noa.”     The State agreed.    Petitioner’s attorney also stated his

clients were prepared to waive any conflict as to counsel.

             The court engaged in a colloquy with Noa, Armitage and

Kahookele, and all three Petitioners agreed to waive any conflict

in representation.      At the request of the court, each party then

summarized its arguments on the record.
             The parties each submitted proposed findings of fact and

conclusions of law with respect to the Motion to Dismiss.              On

October 9, 2008, the court issued its “Findings of Fact

[(findings)], Conclusion of Law [(conclusions)] and Order Denying

Defendants’ Motion to Dismiss.”        The relevant findings follow:7


      6
            For example, Noa testified that he was “Prime Minister of the
Reinstated Hawaiian Government,” while Armitage and Kahookele apparently held
different positions in the Reinstated Hawaiian Government.

      7
            Many of the findings of fact entered by the court on the Motion to
Dismiss were repeated in the March 10, 2009 Stipulation as to Evidence, which
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            1.    On or about July 31, 2006, [] Armitage, Kahookele, and
            Noa traveled to Kaho#olawe as elected representatives and
            citizens of the Reinstated Kingdom of Hawai#i for purposes of
            exercising and proclaiming the Reinstated Kingdom’s property
            rights in the Kaho#olawe Island Reserve and its adjacent
            waters, to build an ahu[8 ], and to offer prayer on the
            island.

            . . . .

             8.    [] Armitage and Kahookele intentionally chose to
             ignore and disregard the written application process and
             made no attempt to comply with the established procedures to
             seek authorization to visit Kaho#olawe.
            . . . .

            10.   [] Noa had knowledge that the Reserve had served as a
            bombing range for approximately fifty years. []

            11.   [Petitioners] assert that the State’s “compelling
            interest in restricting access to Kaho#olawe is to protect
            citizens from dangers that may still exist on the island from
            military activity. [Petitioners] do not challenge this as a
            compelling interest - to do so would be unreasonable.”

            12.    [Petitioners] traveled to the Reserve to claim
            Kaho#olawe and to manage and control the island.

            . . . .

            14.    Notwithstanding [Petitioners’] expert testimony, and
            even assuming the general accuracy of the expert’s opinion,
            Defendants have failed to prove that the Reinstated Nation of
            Hawai#i is a sovereign native Hawaiian entity and the [c]ourt
            lacks authority to make such a determination.

            15.   To date, no sovereign native Hawaiian entity has been
            recognized by the United States and the State of Hawai#i;
            however, there are several native Hawaiian organizations, in
            addition to [Petitioners], seeking this recognition.

            16.   [Petitioners] request this court recognize the
            reinstated Nation of Hawai#i as the sovereign native Hawaiian
            entity and to “provide guidance as to exactly what need[s] to
            be done to achieve Hawaii’s elusive promise of recognition to
            the re-emerged Hawaiian nation that was illegally overthrown
            in 1893.

            17.   [Petitioners] ask this [c]ourt to provide them with
            standards or guidelines to resolve their attempt to be
            recognized by the State and Federal governments as the native
            Hawaiian sovereign entity.

            18.   Upon landing on Kaho#olawe [Petitioners] undertook a


      7
       ...continue
is reproduced in full infra.

      8
            “Ahu” can be defined as altar or shrine.   Mary Kawena Pukui &amp;
Samuel H. Elbert, Hawaiian Dictionary 8 (1986).
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              traditional ceremony. “In our traditional practice, in our
              culture, it is well understood that when you have an event,
              be it a small event, or large event, you always pay respect
              to your ancestors, to your various Gods that our religion has
              or just to Akua itself.

              19.    The State elicited testimony that the Island of
              Kaho#olawe may be unsafe, due to unexploded [ordnance 9] on the
              island. [Petitioners] claimed that the administrative
              regulations were not narrowly tailored to meet that State
              interest.

              20.   [Petitioner] Noa, and his expert each testified that
              Native Hawaiians traditionally and customarily managed and
              controlled the island of Kaho#olawe prior to 1893. []

              21.   [Petitioners] are Native Hawaiian, within the meaning
              set forth in Hawai#i state law.

              22.   The land on Kaho#olawe is undeveloped.

(Emphases added.)

              The court’s conclusions of law stated, in relevant part:
              1.    HAR § 13-261-3 [(2002)] defines the boundary of the
              Reserve as “the entire island of Kaho#olawe and those waters
              and submerged lands seaward of the shoreline of Kaho#olawe
              island to a distance of approximately two miles.

              . . . .

              4.    [Petitioners] did not submit a written application to
              the KIRC; therefore, [Petitioners] violated § 13-261-10 by
              failing to obtain the requisite authorization to enter into
              or conduct an activity in the Reserve.

              5.    HAR §§ 13-261-10 or 13-261-11 [(2002) 10] are


      9
              “Ordnance” is defined as military supplies, including weapons and
ammunition.    See Merriam-Webster’s Collegiate Dictionary 819 (10th ed. 1993).

      10
            HAR § 13-261-11 sets forth the “Procedure for the authorization of
entrance into and activity within the reserve[,]” in relevant part as follows:

              (a) Any person required by this chapter to obtain commission
              authorization to enter into or conduct activity within the
              reserve shall apply for such authorization by making written
              application to the commission. The forms for such
              application may be obtained from the commission office. The
              application shall include:

                    (1) The applicant’s name, address and telephone
                    number;
                    (2) The dates and locations of the requested
                    entrance;
                    (3) A description of the purposes of and
                    activities associated with the entrance;
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            presumptively constitutional; [Petitioners] have made no
            showing that either HAR §§ 13-261-10 or 13-261-11 have clear,
            manifest, and unmistakable constitutional defects, and they
            certainly have failed to prove that the rules are
            unconstitutional beyond a reasonable doubt. SHOPO v. Soc. of
            Prof. Journalists, 83 Haw. 378, 289, 927 P.2d 386, 397            (1996).

            6.    Article XII, section 7 of the Hawai#i Constitution
            provides: The State reaffirms and protects all rights,
            customarily and traditionally exercised for subsistence,
            cultural, and religious purposes, and possessed by ahupua#a
            tenants who are descendants of native Hawaiians who inhabited
            the Hawaiian Islands prior to 1778, subject to the right of
            the State to regulate such rights. (Emphasis added.)

            7.    Native Hawaiians have the right to enter undeveloped
            lands owned by others to practice continuously exercised
            access and gathering rights necessary for subsistence,
            cultural or religious purposes, so long as no actual harm was
            done by the practice, and “the retention of Hawaiian
            tradition should in each case be determined by balancing the
            respective interests and harm once it is established that the
            application of the custom has continued in a particular
            area.” Kalipi v. Hawaiian Trust Co., Ltd., 66 Haw. 1 at 10,
            656 P.2d 745 (1982).

            8.    “It is the obligation of the person claiming the
            exercise of a native Hawaiian right to demonstrate that the
            right is protected.” [] Hanapi, 89 Haw[ai#i] at 184, 970 P.2d
            [at 492] [].

            9.    To establish the existence of a traditional or
            customary native Hawaiian practice, “there must be an
            adequate foundation in the record connecting the claimed


      10
       ...continue
                  (4) The number and names of persons who will
                  participate in the requested entrance; and
                  (5) A safety and logistics plan addressing
                  transportation to and from the island, and safety
                  protocols while in the reserve.
                  (6) A signed liability release waiver
                  acknowledging and accepting full risk and
                  responsibility for exposure to all natural and
                  manmade hazards within the reserve including the
                  potential presence of and contact with
                  unexploded ordnance and other hazardous debris.
                  (7) Information pertinent to the basis of the
                  applicant’s claim to exercise traditional and
                  customary rights if such rights are claimed.

            (b) Entrance into and activities within the reserve
            requested by applicants seeking to exercise traditional and
            customary rights and practices compatible with the law,
            shall be approved or disapproved by the commission after
            review and consultation with cultural practitioners.

(Emphases added.)


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      right to a firmly rooted traditional or customary native
      Hawaiian practice.” Such foundation includes any
      explanation of the history or origin of the claimed right,
      description of the ceremonies involved, or specialized
      knowledge through expert testimony that the claimed right is
      a traditional or customary native Hawaiian practice. Id. at
      187.

      10.   The State is only obligated to “protect the reasonable
      exercise of customarily and traditionally exercised right of
      Hawaiians to the extent feasible;” “unreasonable or non-
      traditional uses are not permitted.” [PASH], 79 Haw. [] at
      450, 903 P.2d [at 1271] [].

      11.   The application process set forth in HAR § 13-261-
      11(b) follows the requirements made by the [c]ourt in Hanapi
      and includes a process by which an applicant to the Reserve,
      through consultation with cultural practitioners, can
      establish the existence of [] traditional or customary
      native Hawaiian practices.

      12.   The Historical Note section of HAR § 13-261 states,
      “In recognition of the substantial amount of unexploded
      ordnance and hazardous materials present on the island and
      in the adjacent waters, institutional controls are required
      because of the imminent threat to public health and safety
      which will continue to exist until the Kaho#olawe island
      reserve has been cleared of unexploded ordnance and
      hazardous waste. (Emphasis added.)

      13.   The process defined in HAR § 13-261-11, does not
      prohibit people from accessing the Reserve to exercise
      native Hawaiian traditional and customary rights; rather, it
      enables the KIRC, who has a compelling interest to protect
      the health and safety of all those who access the Reserve,
      to determine if the exercise of those rights is feasible and
      whether it can be done in [a] manner that ensures the safety
      of the practitioners.

      14.   [Petitoners’] purpose to claim and manage control and
      subsequently occupy Kaho#olawe involved conduct outside the
      scope of any first amendment right to freedom of speech.
      State v. Jim, 105 Haw[ai#i] 319, 97 P.3d 295 (2004) [(]
      citing Procunier v. Martinez, 416 U.S. 396, 411-12 []
      (1974).[)]

      15.   The government may impose reasonable restrictions on
      the time, place, or manner of engaging in protected speech
      provided that they are adequately justified without
      reference to the content of the regulated speech. City of
      Cincinnati v. Discovery Network, Inc., 507 U.S. 410, 428      (1993).

      16.   The application process set forth in HAR § 13-261-11
      is clearly content-neutral, as the rule only sets time,
      place, or manner restrictions on the access applicants,
      without any burdens on speech.

      17.   [Petitioners] cannot argue that the procedure set
      forth in HAR § 13-261-11 prohibited them from exercising
      their First Amendment rights, if they never attempted to

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      employ the application and approval process.

      18.   The procedural requirements in HAR § 13-261-11 are
      content-neutral, only impose time, place, and manner
      restrictions, and apply equally to all who wish to access
      the Reserve in order to ensure the health and safety of the
      public, and to prevent uses that are dangerous, unlawful, or
      impermissible under HRS [Chapter] 6K.

      19.   [Petitioners] did not prove their deprivation of the
      right to free exercise of religion, because their testimony
      and evidence failed to establish “that such practice is an
      integral part of a religious faith and the prohibition . . .
      results in a virtual inhibition of the religion or the
      practice of the faith.” [] State v. Blake, 5 Haw. App. 411,
      413[, 695 P.2d 336, 338] (1982) [(quoting] People v.
      Mullins, 50 Cal. App. 61, 70, 123 Cal. Rptr. 201, 207      (1975)[)] [(emphasis in original)].

      . . . .

      22.   The Apology Resolution [Pub.L.No. 103-150, 107 Stat.
      1510, 1510 (1993)] and related State legislation, including
      HRS Chapter 6K “gave rise to the State’s fiduciary duty to
      preserve the corpus of the public land trust, specifically
      ceded lands, until such time as the unrelinquished claims of
      the native Hawaiians have been resolved.” Office of
      Hawaiian Affairs v. HCDCH, 117 Haw. 174, 177 P.3d 884      (2008).

      23.   The Apology Resolution acknowledges only that
      unrelinquished claims (by Native Hawaiians) exist and
      plainly contemplates future reconciliation with the United
      States and the state with regard to those claims.” Id.

      24.   The [s]upreme [c]ourt [of the Territory of Hawai#i] in
      Territory v. Kapiolani Estate, refused to recognize a claim
      disputing the Territory’s title to ceded lands, and held:

            The validity of the declaration in the
            constitution of the Republic of Hawai#i, under
            which the present title is derived, does not
            present a judicial question. Even assuming, but
            in no way admitting, that the constitutional
            declaration was confiscatory in nature, this
            court has no authority to declare it invalid.
            The subsequent derivation of the title by the
            untied States is clear. The position here taken
            in refusing to regard the defendant’s claim that
            title is otherwise than is fixed by
            constitutional law as presenting a judicial
            question is well illustrated in numerous
            decisions of the United States Supreme Court.

      18 Haw. 640, [] 645-46 (1908) [(emphasis added)].

      25.   Even assuming, but in no way admitting that the
      constitutional declaration was confiscatory in nature, the
      court had no authority to declare it invalid. Id.

      26.   In Territory v. Puahi, the [supreme] [c]ourt [of the

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      Territory of Hawai#i] refused to consider a challenge to the
      Territory’s title stating, “[A] judicial question is not
      presented by a claim requiring a ruling that Art. 95 of the
      constitution of the Republic of Hawai#i is
      unconstitutional.” 18 Haw. 649, 651 (1908).

      27.   Congress stated that nothing in the Apology Resolution
      would “serve as a settlement of claims against the United
      States.” (Apology Resolution, section 3 [at 1514]).

      28.   The Senate Report accompanying the Apology Resolution
      explains that its enactment “will not result in any changes
      in existing law.” S.Rep.No. 103-26, at 35, Ex. M. (1993).

      29.    While the United States expressed its deep regret to
      the Native Hawaiian people for the federal government’s
      participation in the overthrow of the Kingdom of Hawai#i,
      and pledged to support recogniliation efforts, the Apology
      resolution did not create any substantive rights. See
      also[,] Rice v. Cayetano, 941 F.Supp. 1529, 1546 []n. 24 (D.
      Hawai#i 1996), rev’d on other grounds [by] 528 U.S. 495      (2000).

      30.   An action by this [c]ourt would, in turn, direct
      Congress and the State Legislature to recognize the
      Reinstated Nation of Hawai#i as the native Hawaiian
      sovereign entity, and this [c]ourt cannot act where Congress
      and the State Legislature must.

      31.   “In sum, all of the aforementioned pronouncements
      indicate that the issue of native Hawaiian title to the
      ceded land will be addressed through the political process.”
      OHA v. HCDCH, [] 117 Haw. at 923.

      . . . .

      33.   “‘International law’ takes precedence over state
      statutes in only limited circumstances. These circumstances
      are not present when the dispute is concerned with domestic
      rights and duties.” State v. Marley, 54 Haw. 450, 467-68,
      508 P.2d 1095, 1107 (1973).

      34.   The State of Hawai#i has a legitimate interest in the
      conduct of persons within its jurisdiction, and their
      conduct is amenable to reasonable state regulation,
      regardless of “international law.” [Id.] at 468-69[, 508
      P.2d at 1107] [(] citing Skiriotes v. State of Florida, 313
      U.S. 69 (1941)[)].

      35.   “It is the law in this jurisdiction that a proceeding
      against property in which the State of Hawai#i has an
      interest is a suit against the State and cannot be
      maintained without the consent of the State,” so that the
      State “and its interest in the land [are] immune from suit.”
      A.C. Chock, Ltd. v. Kaneshiro, 51 Haw. 87, 88, 451 P.2d 809,
      811 (1969).

      36.   “If it be made to appear at any stage of the case that
      the State claims title, the court’s jurisdiction over the
      merits of such claims thereby is ousted under the doctrine
      of sovereign immunity.” Marks v. Ah Nee, 48 Haw. 92, 94,

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          395 P.2d 620, 622 (1964).

(Emphases added.)

                                      C.

          On March 10, 2009, the parties entered a Stipulation as

to Evidence, stating as follows:
          1.    On or about July 31, 2006, [Petitioners] [Armitage],
          [Kahookele], and [Noa] entered the Kaho#olawe island reserve
          (“Reserve”) in the County of Maui, State of Hawai#i.

          2.    [HAR §] 13-261-3 defines the boundary of the Reserve
          as “the entire island of Kaho#olawe and those waters and
          submerged lands seaward of the shoreline of Kaho#olawe
          island to a distance of approximately two miles.”

          3.    [Petitioners] Armitage, Kahookele, and Noa entered the
          waters of the Reserve and landed on the island of Kaho#olawe
          in the area of Hakioawa.

          4.    [Petitioner] Noa was cited by the Department of Land
          and Natural Resources (DLNR) Division of Conservation and
          Resources Enforcement (DOCARE) Officer Kapahuleha for
          Prohibited Entry into the Kaho#olawe Island Reserve in
          violation of HAR [§] 13-251-10.

          5.    [Petitioners] Armitage and Kahookele were placed under
          arrest by DLNR DOCARE Officers for Prohibited Entrance into
          the Kaho#olawe Island Reserve in violation of HAR [§] 13-
          261-10.

          6.    HAR [§] 13-261-10, reads in relevant part: “No person
          or vessel shall enter or attempt to enter into or remain
          within the reserve unless such person or vessel: (a) Is
          specifically authorized to do so by the commission or its
          authorized representatives as provided in section 13-261-11;
          or (b) Is specifically authorized to do so though a written
          agreement approved by the commission; or (c) Is trolling in
          zone B, in compliance with section 13-261-13(b)(3); or (d)
          Must enter the reserve to prevent probable loss of vessel or
          human life.”

          7.    [Petitioners] were not specifically authorized by the
          commission or its authorized representative to enter into or
          remain within the Reserve as provided in section 13-261-11,
          which reads in relevant part: “Procedure for the
          authorization of entrance into and activity within the
          reserve. (a) Any person required by this chapter to obtain
          commission authorization to enter into or conduct activity
          within the reserve shall apply for such authorization by
          making written application to the commission.

          8.    [Petitioners] did not make a written application to
          the commission for the authorization of entrance into and
          activity within the Reserve.

          9.    [Petitioners] were not specifically authorized to

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           enter into or remain in the Reserve through a written
           agreement approved by the commission.

           10.   [Petitioners] were not trolling in zone B, the waters
           of the Reserve that are deeper than thirty fathoms in depth,
           and the submerged lands beneath such waters from the point
           where the thirty fathoms begins and proceeding out to the
           boundary of the Reserve.

           11.   [Petitioners] did not enter the Reserve to prevent
           probable loss of vessel or human life.

           . . . .

           21.   The State and [Petitioners] agree and stipulate, that
           all testimony, including expert testimony that was presented
           during the hearing on the Motion to Dismiss is fully
           incorporated into the trial on this matter, and such
           testimony shall be considered to have been taken at trial.

           22.   The State and [Petitioners] agree and stipulate, that
           all exhibits that were admitted into evidence during the
           hearing on [Petitioners’] Motion to Dismiss are also
           admitted, without objection, into evidence at trial.

           23.   The State and [Petitioners] request that the [c]ourt
           take judicial notice of all filings in [Petitioners’] case.

(Emphases added.)    The Stipulation was signed by each Petitioner.

           On April 3, 2010, the court held a stipulated facts

trial.   At the outset of the trial, the court stated as follows

with respect to the acceptance of the stipulation:
                 The stipulation itself does not contain an
           acknowledgment of the rights that the defendants would be
           giving up by the [c]ourt accepting the stipulation, so the
           [c]ourt wants to be assured that all defendants knowingly,
           willingly, and voluntarily agree that the stipulation, which
           has been signed, should be considered by the [c]ourt.
           Therefore, the [c]ourt is going to do an advisement on the
           record, and it will be -- what I’ll do is I’ll state what
           your rights are, and then after each one I’ll ask you. And
           I think we have done this the last time, so I think you
           folks know how this works.
                 So, first of all, I do want to advise you that you
           have a right to have a trial in this matter. We are set for
           trial today. And, as I indicated, the stipulation appears
           to sort of alleviate the necessity of a trial. So I want to
           be sure that you understand, first, you have a right to have
           a trial in this matter. Can I get an agreement from each of
           the defendants?

Each Petitioner then stated his name and assented, and the court

proceeded to ask Petitioners, first, “do you understand that at


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trial it would be the Government’s burden to prove each of the

elements of the charged offense beyond a reasonable doubt?”, to

which each Petitioner replied “Yes”.         Second, the court related

that the stipulation appeared to cover all of the essential

elements of the offense charged, and asked Petitioners if “each

one of you is willing to stipulate, in other words, to agree,

that these facts that are set forth as stipulations, that the
Court shall accept those inclusively without any further witness

testifying.”     Each Petitioner independently indicated their

assent.   Third, the court asked the Petitioners to “indicate for

the record that you, in fact, have signed the stipulation as to

evidence.”    Again, Petitioners each indicated assent.11

            The court then engaged in a Tachibana colloquy with

Petitioners.     See Tachibana v. State, 79 Hawai#i 226, 900 P.2d

1293 (1995).12    The court noted that Noa had testified at the

earlier hearing, stated that it did not think it needed to redo

the waiver, but wanted to address that issue out of an abundance

      11
            In State v. Murray, 116 Hawai#i 3, 10, 169 p.3d 955, 962 (2007),
this court held that “[t]he defendant’s right to have each element of an
offense proven beyond a reasonable doubt is a constitutionally and
statutorily[] protected right[,]” and accordingly, a stipulation waiving proof
of an element of the charge must be made knowingly and voluntarily. In light
of this on-the-record colloquy, this case is distinguishable from State v.
Pratt, 127 Hawai#i 206, 277 P.3d 200 (2012), where “the record [was] silent as
to whether [the defendant] understood he had [] a right [to have the
prosecution establish each element of the charged offense beyond a reasonable
doubt] or that [the defendant] waived [that] right.” 127 Hawai#i at 225, 277
P.3d at 319 (Acoba, J., dissenting).

      12
            The Tachibana colloquy is an “oral exchange . . . in which [the
court] ascertains the defendant’s understanding of the proceedings and of the
defendant’s rights.” State v. Chong Hung Han, 130 Hawai#i 83, 90, 206 P.3d
128, 136 (2013) (emphases omitted) (internal quotation marks and citation
omitted). The Tachibana colloquy is designed to ensure that the defendant is
aware of his or her right to testify and that he or she knowingly and
voluntarily waived that right. Tachibana, 79 Hawai#i at 237, 900 P.2d at
1304.
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of caution.

            The State argued that all the elements of the offense

were proven against each Petitioner beyond a reasonable doubt.

In response, defense counsel maintained that Petitioners were not

guilty because they acted as nationals of a sovereign government,

a defense which the State had not disproved beyond a reasonable

doubt.   In rebuttal, the State answered that the defense did not
raise a reasonable doubt as to Petitioners’ guilt.

            The court found that “the State has proven its case

beyond a reasonable doubt . . . that [Petitioners] ha[d] violated

HAR [§] 13-261-10 by entering the Reserve area without specific

authorization by [the Kaho#olawe Island Reserve Commission (KIRC

or the commission)], and without having had any of the other

reasons . . . which would also be an exception.”            The court

further noted that it disbelieved Gates’ testimony and rejected

the sovereign nation defense.        Petitioners were found guilty and

the court sentenced each Petitioner, but stayed execution of the
sentences pending appeal.

                                     II.

            On April 21, 2009, Petitioners filed a Notice of Appeal

with the ICA.     In their Opening Brief, they set forth a number of

arguments, two of which are relevant to the instant

Application.13    They asserted, inter alia, that “the court

      13
            In addition, Petitioners argued that (1) “the court committed
plain error when it determined it was incompetent to make a determination of
sovereignty and when it thus declined to recognize [Petitioners’] nations’s
inherent sovereignty”; and (2) the court “engaged in improper burden shifting
and committed reversible error when it failed to require the prosecution as
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applied the wrong standard when it rejected [Petitioners’]

defense that the regulations they are alleged to have violated

are unconstitutional as a prior restraint on Native Hawaiian

rights” and that “the court was in error when it rejected

[Petitioners’] defense of privilege under Pash and Hanapi.”

                                     III.

            As noted, the ICA issued its SDO on April 30, 2013.14
State v. Armitage, 129 Hawai#i 425, 301 P.3d 1266, 2013 WL

1829663, at *1 (App. April 30, 2013).          In response to

Petitioners’ apparent defense that they were engaging in

establishment of a sovereign native Hawaiian government, the ICA

concluded that this court’s recent decision in State v. Kaulia,

128 Hawai#i 479, 291 P.3d 377 (2013), resolved the issue.              Id. at

*2.   The ICA noted that, analogous to Kaulia, “[Petitioners]

contend the ‘legitimacy’ of the Reinstated Nation of Hawai#i as

the sovereign native Hawaiian entity renders them ‘exempt from

the application of the State’s laws.”          Id.   According to the ICA,
individuals claiming to be citizens of an independent sovereign

entity are not exempt from the state’s laws, and therefore the

district court did not err in rejecting Petitioner’s defense

based on their sovereignty claims.




      13
        ...continue
part of its burden of persuasion to prove beyond a reasonable doubt the facts
negativing [Petitioners’] non-affirmative defenses.”

      14
            The ICA’s SDO was issued by Chief Judge Craig H. Nakamura, Judge
Alexa D.M. Fujise, and Judge Katherine G. Leonard.
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            The ICA also concluded that Petitioners’ conduct was

not protected by the privilege for customary and traditional

native Hawaiian practices under article XII, section 7 of the

Hawai#i Constitution.      Id. at *3.       Applying the balancing test in

Pratt, the ICA explained that, the regulations restricting access

to the Reserve are necessary to protect health and safety, and

that persons seeking access to the Reserve in order to exercise
traditional and customary native Hawaiian rights and practices

may apply with the commission for approval.            Id. (citing HAR §

13-261-11).     In this case, Petitioners had not attempted to use

the regulatory process, and under these circumstances the ICA

determined that the State was entitled to prosecute Petitioners.

Id.

            Finally, the ICA reasoned that the regulations at issue

were constitutional, because they were supported by a compelling

State interest in protecting the public’s health and safety, and

included consideration of requests based on the exercise of
traditional and customary rights and practices.             Id. at *4.       The

ICA therefore upheld the court’s judgments against Petitioners.

                                      IV.

            Petitioners filed their amended Application with this

court on September 16, 2013, asking whether (1) “HAR § 13-261-11

is . . . unconstitutional as a prior restraint on traditional and

customary Native Hawaiian rights and religious rights” and

“whether the regulations were narrowly drawn” even if a

compelling state interest were involved; and (2) whether the ICA

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erred “in failing to analyze [HAR] §13-261-11 in light of

fundamental rights, instead deciding this case based on subject

matter jurisdiction[.]”       The State did not file a Response.

                                     V.

            The sufficiency of the complaints is not raised by

either party.15    However, the complaint failed to adequately

allege that Petitioners violated HAR § 13-261-10 intentionally,
knowingly, or recklessly.       Therefore, the complaint must be

dismissed without prejudice.        See Apollonio, 130 Hawai#i at 359,

311 P.3d at 682; see also Gonzalez, 128 Hawai#i at 324, 288 P.3d

at 798; State v. Nesmith, 127 Hawai#i 48, 51, 276 P.3d 617, 620
(2012).

                                     A.

            The complaints16 charged Petitioners with violating HAR

§ 13-261-10.    To reiterate, HAR § 13-261-10 provides that “[n]o

person or vessel shall enter or attempt to enter into or remain


      15
            Upon this court’s acceptance of certiorari, the parties were asked
to provide supplemental briefing on whether the complaints must be dismissed
without prejudice under Apollonio, 130 Hawai#i at 359, 311 P.3d at 682,
because they did not allege the state of mind required to commit the offense
of Entrance into the Reserve, HAR § 13-261-10.
            The State’s Supplemental Brief first conceded that the complaints
did fail to set forth the requisite state of mind for the offense. The State
also conceded that the complaints were deficient because they failed to state
“which ‘reserve’” Petitioners entered, “which commission” was involved, or set
forth the appropriate state of mind for an attempt offense. Based on the
disposition set forth herein, we need not address these additional matters.
            Petitioners’ Supplemental Brief also argues that the complaints
failed to charge the requisite state of mind, that therefore, the charges
failed to state an offense and thus must be dismissed with prejudice.
Petitioners further allege, as discussed infra, that the charges should be
dismissed with prejudice because any new charges would be time-barred by the
statute of limitations.

      16
            To reiterate, the State filed individual complaints against
Armitage, Kahookele, and Noa. Each complaint set forth identical allegations
for the purposes of the discussion infra.
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within the reserve unless such person or vessel” is authorized to

do so, or the person or vessel meets one of the other

exceptions.17       HAR § 13-261-10 does not specify the state of mind

required to establish entry into the reserve.           Under the Hawai#i

Penal Code, when a penal law does not specify the relevant state

of mind, “that element is established if, with respect thereto, a

person acts intentionally, knowingly, or recklessly,” HRS § 702-
20418, unless the offense is either a violation or an absolute

liability offense.       HRS § 702-212.19

            First, HAR § 13-261-10 is not a violation.            Pursuant to

HRS § 701-107(5) an offense “constitutes a violation if it is so


      17
            As stated previously, HAR § 13-261-10 also provides exceptions for
persons or vessels who are “trolling in zone B, in compliance with section
13-361-13(b)(3),” and persons or vessels who “[m]ust enter the reserve to
prevent probable loss of vessel or human life[.]”

      18
            HRS § 702–204 provides in relevant part as follows:

            Except as provided in section 702–212, a person is not guilty of
            an offense unless the person acted intentionally, knowingly,
            recklessly, or negligently, as the law specifies, with respect to
            each element of the offense. When the state of mind required to
            establish an element of an offense is not specified by the law,
            that element is established if, with respect thereto, a person
            acts intentionally, knowingly, or recklessly.

(Emphases added.)


      19
            HRS § 702-212 provides in relevant part as follows

            The state of mind requirements prescribed by sections 702–204 and
            702–207 through 702–211 do not apply to:

            (1) An offense which constitutes a violation, unless the state of
            mind requirement involved is included in the definition of the
            violation or a legislative purpose to impose such a requirement
            plainly appears; or

            (2) A crime defined by statute other than this Code, insofar as a
            legislative purpose to impose absolute liability for such offense
            or with respect to any element thereof plainly appears.

(Emphases added.)
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designated in . . . the law defining the offense or if no other

sentence than a fine, or fine and forfeiture or other civil

penalty, is authorized upon conviction. . . .”          However, HRS §

6K-8 provides that “[a]ny person who violates the law or rules

applicable to the island reserve,” including HAR § 13-261-10,

“shall be fined not more that $1,000 or imprisoned not more than

30 days, or both[.]”     (Emphasis added.)      Additionally, HAR § 13-
261-10 is not specifically designated as a violation.

           Moreover, a legislative purpose to impose absolute

liability does not “plainly appear” from either the legislative

history of HAR § 13-261-10.      The commentary to HRS § 702-212

“counsels that strict liability ‘should not be discerned lightly

by the courts,’ that HRS § 702–212(2) ‘severely limits the

situations which will allow the imposition of absolute criminal

liability,’ and that ‘strict liability in the penal law is

indefensible in principle if conviction results in the

possibility of imprisonment.’”       Gonzalez, 128 Hawai#i at 322, 288
P.3d at 796 (quoting Commentary to HRS § 702–212.).           Conviction

of HAR § 13-261-10 results in “the possibility of imprisonment,”

and therefore the imposition of strict liability is “indefensible

in principle.”    Id.

           Further, a legislative intent to impose strict

liability does not “plainly appear” from the relevant legislative

history.   The KIRC’s authority to enact HAR § 13-261-10 is

derived from HRS § 6K-6.      The penalties for violations of HAR §


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13-261-10 are imposed by HRS § 6K-8.         Nothing in the legislative

history of either demonstrates that the legislature intended to

allow the KIRC to enact absolute liability offenses.             Hence, HAR

§ 13-261-10 does not impose absolute liability.

                                     B.

            Because none of the exceptions in HRS § 702-212 apply,

under HRS § 702-204, the State was required to prove that
individuals who violated HAR § 13-261-10 did so intentionally,

knowingly, or recklessly.       The complaints, however, did not

specify that Petitioners act intentionally, knowingly, or

recklessly.    Therefore, the complaints did not allege the

requisite state of mind.20

            This court “adhere[s] to th[e] core principle” that

“[a] charge that fails to charge a requisite state of mind cannot

be construed reasonably to state an offense and thus the charge

is dismissed without prejudice because it violates due process.”

Apollonio, 130 Hawai#i at 359, 311 P.3d at 682.           This principle
applies even if the sufficiency of the charge is not challenged




      20
            In its supplemental brief, the State concedes that the complaints
were defective because they did not allege the requisite state of mind with
respect to attempt. As recounted by the State, the complaints alleged that
Petitioners “did enter or attempt to enter into” the reserve. (Emphasis
added.) However, to demonstrate that a defendant is guilty of attempt, the
State must demonstrate that, inter alia, the defendant
“intentionally engag[ed] in conduct which . . . constitutes a substantial step
in a course of conduct intended to culminate in the person’s commission of the
crime.” HRS § 705-500(1)(b) (1993) (emphasis added). Because the complaints
did not allege that Petitioners acted intentionally, the complaints did not
allege the required state of mind with respect to attempt. However, it is
noted that based on the stipulated facts, Petitioners did actually enter the
reserve, rather than just attempt to enter the reserve.
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before the trial court.21      Id.; see also State v. Elliot, 77

Hawai#i 309, 313, 884 P.3d 372, 276 (1994).          Because the

complaints omitted the requisite state of mind, the charges must

be dismissed without prejudice.22         See Apollonio, 130 Hawai#i at

359, 311 P.3d at 682.

                                     C.

            Petitioners allege that the complaints should be
dismissed with prejudice because new charges would be time barred

under the relevant statute of limitations.          However, the statute

of limitations has been tolled in this case.

            A violation of HAR § 13-261-10 is a petty misdemeanor.

HRS § 701-107(4) (Supp. 2005) provides that “[a] crime is a petty

misdemeanor . . . if it is defined by a statute other than this

Code that provides that persons convicted thereof may be

sentenced to imprisonment for a term not to exceed thirty days.”

HAR § 13-261-5 (2002) provides that “(a) any person violating the

rules in [HAR Chapter 261] shall be punished as provided in


      21

            The complaints in the instant case were filed on August 22, 2006
and August 28, 2006. The articulation of the “core principle” that a charge
must allege the requisite state of mind in Gonzalez and Apollonio was based on
this court’s decision in Nesmith, which was not filed until April 12, 2012.
Petitioners filed their Application on September 16, 2013. Therefore,
Petitioners could not have argued at trial that the complaints violated
Nesmith.

      22
            In Apollonio, the defendant challenged the sufficiency of the
charge for the first time on appeal. 130 Hawai#i at 358, 311 P.3d at 681. In
contrast, here Petitioners did not challenge the sufficiency of the charge at
all. Nevertheless, the “core principle” announced in Apollonio, that a charge
that does not allege a state of mind does not “alert [] defendants of
precisely what they need[] to defend against to avoid a conviction” and
thereby violates due process, applies. Moreover, the State concedes that the
defects in the charge mandate dismissal without prejudice. Hence, it is
appropriate for this court to dismiss the charge without prejudice based on
the failure to allege a state of mind.
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sections 6K-8 and 6K8.5, [HRS].”         HRS § 6K-8 (Supp. 1997) states

that “[a]ny person who violates any of the laws or rules

applicable to the island reserve shall be guilty of a petty

misdemeanor and shall be fined not more than $1,000 or imprisoned

not more than thirty days, or both, for each offense.”

            The statute of limitations for a petty misdemeanor is

one year.    HRS § 701-108(2)(f) (Supp. 2006) (“A prosecution for a
petty misdemeanor or a violation other than a parking violation

must be commenced within one year after it is committed.”)             If

this case were dismissed without prejudice, Petitioners maintain

that the prosecution would be unable to re-file the charges,

since more than one year has passed since Petitioners’ 2006 entry

onto the Reserve.

            However, HRS § 701-108(6)(b) provides that “The period

of limitation does not run” “[d]uring any time when a prosecution

against the accused for the same conduct is pending in this

State[.]”    The Commentary on HRS § 701-108(6) provides that
“Subsection (6) . . . prevents any claim that the statute has run

preventing retrial after reversal on appeal or dismissal for some

reason which would not make retrial a matter of double jeopardy.”

            HRS § 701-108(6) thus indicates that the statute of

limitations is tolled whenever “a prosecution against the accused

for the same conduct is pending . . . .”         (Emphasis added.)         This

would include the period of time during which the prosecution

against Petitioners has been pending in the instant case.

Despite the fact that the charge against Petitioners was
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deficient, the prosecution was still “pending.”23           Thus, the

statute of limitations was tolled for the period beginning with

the prosecution’s filing of its Complaint in this action and

ending when the court issues its judgment dismissing the case

without prejudice.      It is during this period that the prosecution

can be considered to be “pending.”         The incident in this case

took place on July 31, 2006.        The prosecution filed the Complaint
on August 22, 2006.      The prosecution has been pending since then.

Thus, approximately one month has run on the statute of

limitations.    Therefore, the statute of limitations does not bar

the prosecution from re-filing a complaint against Petitioners.24

                                     VI.

            The issues raised by the Application have been briefed

and the case will likely be retried on remand.           See id. at *5

(noting that this court would reach the defendant’s remaining

arguments, because of the likelihood of retrial on remand); see

also Gonzalez, 128 Hawai#i at 325, 288 P.3d at 799 (same).
Because of the likelihood of retrial, we discuss the arguments

raised.



      23
            Petitioners maintain that since the charge was deficient, the
prosecution was a “nullity” and therefore, the proceedings against Petitioners
cannot be considered “a prosecution” for purposes of HRS § 701-108(6).
However, despite the deficiency of the charging instrument, the proceedings
can themselves still be considered “a prosecution” against Petitioners. See
Black’s Law Dictionary 1341 (9th ed. 2009) (defining “prosecution” as (1) “The
commencement and carrying out of any action or scheme” and (2) “A criminal
proceeding in which an accused person is tried.”).

       24
            The cases cited by Petitioner are distinguishable in that they are
both from other jurisdictions and discuss the statue of limitations in civil
cases.
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                                   VII.

           The KIRC was established pursuant to HRS § 6K-5 (Supp.

2000), with the intent that the KIRC “establish criteria,

policies, and controls for permissible uses within the island

reserve[.]”   The rules in Title 13, Chapter 261 of the HAR were

promulgated pursuant to the KIRC’s statutory authority.            See HRS

§ 6K-5(9).    HRS § 13-261-1(b) (2002) provides that the purpose of
the rules is to “manage, preserve, restore, and protect the

natural and cultural resources of the reserve; to regulate

activities within the reserve; and to protect public health and

safety.”   HRS § 13-261-1(b) states that “these rules shall apply

to all persons entering the reserve.”        To reiterate, HRS § 13-

261-5 (2002) prescribes the penalties for a violation of Chapter

261, specifically that “[a]ny person violating the rules in this

chapter shall be punished as provided in [HRS] sections 6K-8[25]

and 6K-8.5[26][.]”


     25
           HRS § 6K-8 is quoted supra.

     26
           HRS § 6K-8.5 (Supp. 1997) provides, in relevant part, that:

           (a) Except as otherwise provided by law, the commission is
           authorized to set, charge, and collect administrative fines,
           or bring legal action to recover administrative costs of the
           commission or the department, or payment for damages, or for
           the cost to correct damages resulting from a violation of
           chapter 6K or any rule adopted thereunder. The
           administrative fines shall be as follows:
                 (1) For a first violation, by a fine of not more
                 than $10,000;
                 (2) For a second violation within five years of
                 a previous violation, by a fine of not more than
                 $15,000; and
                 (3) For a third or subsequent violation within
                 five years of the last violation, by a fine of
                 not more than $25,000.

                                                                  continue...
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           As noted above, HAR § 13-261-10 sets forth the limits

for entry onto the reserve, only allowing entrance by a person or

vessel under specific, limited circumstances, which include when

a person “[i]s specifically authorized to do so through written

agreement approved by the commission[.]”          To reiterate, HAR 13-

261-11 details the process for obtaining approval by application

to the KIRC.    It states, inter alia, that “[e]ntrance into and
activities within the reserve requested by applicants seeking to

exercise traditional and customary rights and practices

compatible with the law, shall be approved or disapproved by the

commission after review and consultation with cultural

practitioners[,]” and that “[p]rior to approving or disapproving

any application, the commission shall determine whether the

entrance and activities proposed by the application conform to

the allowable activities described in § 13-261-13.”            HAR § 13-

261-11(c) and (f).

                                    VIII.
           Petitioners’ arguments in its Application appear to be

somewhat inconsistent with the questions presented.            However, in

the interest of fully considering the legal issues presented by

this case, and giving due weight to the “argument” portion of

Petitioners’ Application, their arguments are construed in the

manner following.




     26
       ...continue
(Emphasis added.)
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             The first question would be whether the ICA erred when

it held that HAR §§ 13-261-10 and -1127 were constitutional.

This question consists of three sub-issues, based on each of the

constitutional rights Petitioners allege were infringed by the

regulations, (1) the right to form an indigenous nation, (2) the

right to engage in traditional and customary practices, and (3)

the right to practice religion.
             The second question would be whether the ICA improperly

rested its holding on subject matter jurisdiction rather than

analyzing Petitioners’ “privilege” defense to penal liability,

specifically that Petitioners were engaging in traditional and

customary practices and therefore were not subject to liability

under HAR § 13-261-10.28

                                     IX.

             For analytical purposes, this second question,

regarding Petitioner’s “privilege” defense is addressed first,

inasmuch as it resolves whether Petitioners should have been
subject to penal liability under HAR § 13-261-10 in the first

place.     See City and Cnty. of Honolulu v. Sherman, 110 Hawai#i

39, 56 n.7, 129 P.3d 542, 559 n.7 (2006) (“A fundamental and

      27
            In their first question presented, quoted supra, Petitioners only
challenge the constitutionality of HAR § 13-261-11. However, Petitioners
arguments on this point appear to address the constitutionality of HAR § 13-
261-10, which incorporates HAR § 13-261-11 by reference. Thus, the
constitutionality of both regulations, operating together, is addressed.

      28
            In their second question presented, quoted supra, Petitioners ask
whether the ICA failed to analyze HAR § 13-261-11 in light of fundamental
rights, instead of deciding the case based on subject matter jurisdiction.
This question overlaps with their first question, but the arguments section of
Petitioners’ Application raises different points, which appear related to the
“privilege” defense.
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longstanding principle of judicial restraint requires that courts

avoid reaching constitutional questions in the advance of

deciding them.” (internal quotation marks and citation omitted)).

                                    A.

            First, it is clear that there was sufficient evidence

adduced at trial to sustain Petitioners’ conviction.            “‘[T]he

test on appeal in reviewing the legal sufficiency of the evidence
is whether, when viewing the evidence in the light most favorable

to the prosecution, substantial evidence exists to support the

conclusion of the trier of fact.’”        State v. Agard, 113 Hawai#i

321, 324, 151 P.3d 802, 805 (2007) (quoting State v. Bui, 104

Hawai#i 462, 467, 92 P.3d 471, 476 (2004)) (other citation

omitted).

            The elements of the offense in the instant case are (1)

entering or attempting to enter into or remain, (2) within the

Reserve, (3) without authorization as enumerated in HAR § 13-261-

10(a)-(d).   See HAR § 13-261-10.        Since the state of mind for

this petty misdemeanor is not established in the regulation, each
element is established if the defendant acts intentionally,

knowingly, or recklessly.      See discussion, supra.       As explained

supra, Petitioners stipulated that (1) they entered the reserve,

(2) they were not specifically authorized to enter into or remain

on the reserve, (3) they did not make a written application for

authorization to the commission (HAR § 13-261-10(b)), (4) they

were not trolling in zone B (HAR § 13-261-10(c)), and (5) they


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did not enter the reserve to prevent probable loss of vessel or

human life (HAR § 13-261-10(d)).

             All of these elements were established with the

requisite intent of intentionally or knowingly, as evidenced by

the court’s finding no. 1, stating that Petitioners traveled to

the Reserve “for purposes of exercising and proclaiming the

Reinstated Kingdom’s property rights in the Kaho#olawe Island
Reserve and its adjacent waters[,]” and finding no. 8, that

Petitioners “intentionally chose to ignore and disregard the

written application process . . . .”           Thus, via stipulation, the

prosecution established each element of the offense beyond a

reasonable doubt.       Petitioners’ defense that the privilege for

native Hawaiian practices applies in this case may be considered

in this context.

                                       B.

             As noted, the right to engage in traditional and

customary Native Hawaiian practices is recognized under the
Hawai#i Constitution art. XII, section 7.            Pursuant to Hanapi,

this court established a three-part test for “a defendant to

establish that his or her conduct is constitutionally protected

as a native Hawaiian right.”          89 Hawai#i at 185-86, 970 P.2d at

493-94.     First, the defendant must qualify as a ‘native Hawaiian’

within the guidelines set out in PASH.            Id. at 185, 970 P.2d at

494.    Second, the defendant “must establish that his or her

claimed right is constitutionally protected as a native Hawaiian

practice.”      Id.   Third, the defendant “must also prove that the
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exercise of the right occurred on undeveloped or ‘less than fully

developed property.’”     Id.
          The court’s findings nos. 21 and 22, which are

unchallenged by the parties, show that Petitioners satisfied the

first requirement and the third requirement.          As to the second

requirement, it is not clear whether managing and controlling

Kaho#olawe is a customary and traditional native Hawaiian
practice within the meaning of the Hawai#i Constitution, or that

the religious practices Petitioners discuss in their testimony

satisfy this standard.     However, assuming, arguendo, that these

activities do constitute constitutionally protected practices,

Petitioners have satisfied the Hanapi test.

          Under the “privilege defense,” a balancing test is then

applied to determine whether Petitioners’ assertion of the native

Hawaiian privilege will negate the conviction.          Pratt, 127

Hawai#i at 216, 277 P.3d at 310.       It must be determined whether

Petitioners’ conduct was reasonable, by balancing the State’s
interests in regulating Petitioners’ activity with Petitioners’

interest in visiting Kaho#olawe.       See Pratt, 127 Hawai#i at 218,

277 P.3d at 312.

          At the hearing on the Motion to Dismiss, the State

explained that HAR chapter 261 relating to the Kaho#olawe Island

Reserve “is in effect and enforced because of the threat to

public health and safety that the Island and the waters of

Kaho#olawe possess.”    It quoted that portion of the historical

note to HAR chapter 13-261, which states that “institutional
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controls are required because of the imminent threat to public

health and safety which will continue to exist until the

Kaho#olawe Island Reserve has been cleared of unexploded ordnance

and hazardous waste.”     Next, the State articulated that it

“take[s] all access participants very seriously when they go to

the Island because of all of the health and safety concerns that

are still present on the Island and its surrounding waters.”

Thus, the record indicates that HAR § 13-261-10 is intended to

limit the exposure of individuals to potential safety hazards in

the Reserve.

          On the other hand, Petitioners testified that they

visited Kaho#olawe with the purpose of reestablishing the

Reinstated Hawaiian Government.       They testified as follows:
          Q.    And . . . the right you went there to exercise, am I
          correct, that that was the right to claim the -- you were
          only at that point on that exercise claiming the limited
          right to claim management and control of Kaho#olawe?
          A.    That’s correct. And, of course, I felt even stronger
          than that, you know. I believe that that also -- that we
          extended that exercise believing that we are going to
          initiate now the claims, you know, to Kaho#olawe.

(Emphases added.)

          Again assuming, arguendo, that Petitioners can

establish that they were engaging in a traditional and customary

native Hawaiian practice, their interest must be balanced against

the State’s interest to determine whether Petitioners are subject

to penal liability in the instant case.         In Pratt, after setting

forth the interests of each party, the majority noted that

“[w]hile Pratt has a strong interest in visiting [the restricted



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area], he did not attempt to visit in accordance with the laws of

the State.”   127 Hawai#i at 218, 277 P.3d at 312.

          In this case, Petitioners similarly made no attempt to

avail themselves of the applicable procedures to obtain lawful

entry into the Reserve.     Here, the regulations established a

clear method for lawful entry onto the Reserve and Petitioners

made no showing that they would have been denied entry had they
applied under HAR § 13-261-11.       Under these circumstances,

Petitioners did not “reasonably exercise[]” their

constitutionally protected native Hawaiian rights, see Hanapi, 89

Hawai#i at 184, 970 P.2d at 493, because they did not apply for

authorization from the commission.        Therefore, the balance weighs

in favor of the State’s interest in protecting the health and

safety of those individuals who travel to Kaho#olawe.

Petitioners’ activities then do not fall within a haven

protecting them from criminal liability.

                                    C.
          As part of this point of error, Petitioners also allege

that the ICA incorrectly deemed their argument to be about

whether the court had jurisdiction.        Petitioners are correct that

the ICA did consider whether the court had subject matter

jurisdiction.   Armitage, 2013 WL 1829663, at *2.           However, the

ICA additionally considered Petitioners’ assertion of the

privilege defense in Section II.B. of its SDO.          Id. at *3.     Thus,

Petitioners cannot successfully argue that the ICA based its


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decision solely on subject matter jurisdiction rather than on the

privilege defense.

                                    X.

          Next, Petitioners’ point of error alleging

constitutional claims is addressed.        Specifically, Petitioners

challenge the constitutionality of the regulations in HAR chapter

13-261.
          The preliminary issue is whether Petitioners have

standing to challenge the constitutionality of the HAR chapter

13-261 regulations.     Although not explicitly argued by the

parties, this court must consider the issue of standing sua

sponte, because “‘[a] plaintiff without standing is not entitled

to invoke a court’s jurisdiction.’”        Sierra Club v. Hawai#i

Tourism Authority ex rel. Bd. of Directors, 100 Hawai#i 242, 59

P.3d 877 (2002) (quoting Mottl v. Miyahira, 95 Hawai#i 381, 388,

23 P.3d 716, 723 (2001)) (other citation omitted).

          Because Petitioners were subject to penal liability
pursuant to HAR § 13-261-10, they have “a claim of specific

present objective harm”, Ariyoshi, 67 Haw. at 419, 689 P.2d at

765, and therefore have standing to challenge the

constitutionality of that regulation.        This much is clear.       On

the other hand, Petitioners stipulated at trial that they “did

not make a written application to the commission for the

authorization of entrance into and activity within the reserve.”

This stipulation establishes that Petitioners did not attempt to

follow the procedures set forth in HAR § 13-261-11 to obtain
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lawful entry into the Reserve; Petitioners thus may not have

standing to argue that HAR § 13-261-11 is unconstitutional.

           The general rule is that “[w]here restraints imposed

act directly on an individual or entity and a claim of specific

present objective harm is presented, standing to challenge the

constitutionality of an ordinance or statute exists.”            State v.

Bloss, 64 Haw. 148, 151, 637 P.2d 1117, 1121 (1981), cert.
denied, 459 U.S. 824 (1982) (citing Bigelow v. Virginia, 421 U.S.

809 (1975)) (other citation omitted).        This standing requirement

is termed the “rule against vicarious assertion of constitutional

rights.”   Tauese v. State, Dep’t of Labor &amp; Indus. Relations, 113

Hawai#i 1, 28, 147 P.3d 785, 812 (2006).        “One must show that as

applied to him the statute is constitutionally invalid.”

Ariyoshi, 67 Haw. at 419, 689 P.2d at 765 (citing State v.

Marley, 54 Haw. 450, 509 P.2d 1095 (1973)).          Thus, for example, a

criminal defendant cannot challenge the constitutionality of one

subsection of a statute where he was charged under a different
subsection.   State v. O’Brien, 5 Haw. App. 491, 494, 704 P.2d

905, 909, aff’d, 68 Haw. 38, 704 P.2d 883 (1985).

           To the extent that Petitioners challenge HAR § 13-261-

11 as unconstitutional, Petitioners would lack standing to do so,

inasmuch as they never followed the prescribed procedures, and

thus were not subject to HAR § 13-216-11.         Since they never

attempted to use the application procedure, they cannot claim

that the specifics of the application procedures under HAR § 13-


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216-11, including review by a “cultural practitioner,” HAR § 13-

216-11(f), are unconstitutional as applied to them.

           However, there is an exception for bringing

constitutional challenges in the First Amendment area, pursuant

to the overbreadth doctrine.       See Tauese, 113 Hawai#i at 28, 147

P.3d at 812.   That doctrine allows a party whose own rights are

not violated to challenge the constitutionality of an ordinance
upon showing that it abridges the protected speech of persons not

before the court.    State v. Bloss, 64 Haw. 148, 151 n.6, 637 P.2d

1117, 1121 n.6 (1981).     Although Petitioners assert First

Amendment rights, specifically, the right to practice their

religion, as explained infra, their actions do not constitute

“protected speech.”     Therefore, this exception is not available

to Petitioners to challenge to the constitutionality of HAR § 13-

216-11.

           Petitioners constitutional arguments are therefore

limited to the constitutionality of HAR § 13-216-10, because they
cannot demonstrate a “specific present objective harm” based on

HAR § 13-261-11.    Had Petitioners attempted to follow the

application process, then they would have had standing to

challenge the constitutionality of HAR § 13-261-11.           However,

those are not the facts presented by this case.           Thus,

Petitioner’s challenge is limited to HAR § 13-261-10.

Nevertheless, the process set forth in HAR § 13-261-11 will be

addressed where necessarily implicated in the analysis that

follows.
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                                    XI.

          As to the merits of their constitutional claims, to

reiterate, Petitioners apparently argue that HAR § 13-261-10, the

regulation they were charged with violating, is unconstitutional

for three reasons.    To repeat, they maintain that HAR § 13-261-10

abridged their fundamental rights to (1) form an indigenous

nation; (2) engage in traditional and customary practices; and
(3) practice their religion.       According to Petitioners, their

right to enter the Reserve to exercise fundamental rights cannot

“constitutionally be subject to an undefined review by undefined

cultural practitioners[.]”

          “‘[T]his court reviews questions of constitutional law

de novo, under the “right/wrong” standard, and thus, exercises

its own independent constitutional judgment based on the facts of

the case.’”   Kaho#ohanohano v. State, 114 Hawai#i 302, 339, 162

P.3d 696, 733 (2007) (quoting In re Guardianship of Carlsmith,

113 Hawai#i 236, 239, 151 P.3d 717, 720 (2007) (other citation
omitted)).    Furthermore, this court has “long recognized that the

Hawai#i Constitution must be construed with due regard to the

intent of the framers and the people adopting it, and the

fundamental principle in interpreting a constitutional principle

is to give effect to that intent.’”        Id. (quoting Save Sunset

Beach Coal. v. City &amp; Cnty. of Honolulu, 102 Hawai#i 465, 474, 78

P.3d 1, 10 (2003) (other citation omitted)).

                                    A.

          First, Petitioners allege that their right to form an
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indigenous nation was abridged.        Petitioners maintain that the

right of the Native Hawaiian people to reestablish an autonomous

sovereign government is a fundamental right.              While the Hawai#i

State Legislature has in the past recognized the potential for a

sovereign native Hawaiian government to be recognized,              see,

e.g., 1994 Haw. Sess. Laws Act 200, § 1 at 47929, Petitioners

fail to establish that the right to form a sovereign native
Hawaiian nation is a “fundamental right.”

            In their Application, Petitioners rely on Gates’

testimony that the process of building an indigenous native

Hawaiian Nation is constitutionally protected under Article XII,

section 7 of the Hawai#i Constitution.         However, Article XII

offers protection for “all rights, customarily and traditionally

exercised for subsistence, cultural and religious purposes . . .

.”   This constitutional provision has never been extended beyond

rights deemed to have been “customarily and traditionally”

practiced by native Hawaiians.        Art. XII, section 7 does not
create a separate, additional right to nation-building, as

Petitioners appear to contend.



      29
            Act 200, section 1 provided, in part, that:

           SECTION 1. Findings. The legislature through Act 359,
           Session Laws of Hawai#i 1993, recognized the unique status
           that the native Hawaiian people bear to the State of Hawai#i
           and to the United States. The Hawaiian sovereignty advisory
           commission was established to seek counsel from the native
           Hawaiian people on how to facilitate the efforts to be
           governed by an indigenous sovereign nation of their own
           choosing.

1994 Haw. Sess. Laws Act 200, § 1 at 479 (emphasis added).


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             Moreover, Petitioners’ theory of nation-building as a

fundamental right under the ICA’s decision in Lorenzo does not

appear viable.       Lorenzo held that, for jurisdictional purposes,

should a defendant demonstrate a factual or legal basis that the

Kingdom of Hawai#i “exists as a state in accordance with

recognized attributes of a state’s sovereign nature[,]” and that

he or she is a citizen of that sovereign state, a defendant may
be able to argue that the courts of the State of Hawai#i lack

jurisdiction over him or her.          77 Hawai#i at 221, 883 P.2d at

644.    Thus, Lorenzo does not recognize a fundamental right to

build a sovereign Hawaiian nation.           Further, it does not set

forth the process for the creation of a sovereign Hawaiian

nation, but only indicates that this State’s courts would be

amenable to an argument that they lack jurisdiction over certain

individuals subject to a new sovereign nation, in the event that

such a sovereign nation was recognized by the United States

government and internationally.          See id.             Finally, Petitioners fail to establish that 1993 U.S.

Public Law 103 (the “Apology Resolution”) created a “fundamental

right.”     Petitioners do not cite to the text of the Apology

Resolution or any other references in support of their assertion.

In 1993, Congress adopted the Apology Resolution to acknowledge

and “express its deep regret” for the United States’ active role

in the illegal overthrow of the Hawaiian monarchy in the late

nineteenth century, while disclaiming that the resolution was

“intended to serve as a settlement of any claims against the
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United States.”    P.L. 103-150, 107 Stat. 1510 (1993).          In Office

of Hawaiian Affairs v. HCDCH, 117 Hawai#i 174, 177 P.3d 884
(2008), this court held that the Apology Bill gave rise to the

State’s fiduciary duty to preserve ceded lands in trust, until

such time as the unrelinquished claims of the native Hawaiians

were resolved.    117 Hawai#i at 195, 177 P.3d at 905.         The U.S.

Supreme Court reversed this court, holding that the Apology
Resolution did not confer substantive rights or have a

substantive legal effect.      Hawai#i v. Office of Hawaiian Affairs,

556 U.S. 163, 164 (2009).      Thus, the Apology Bill cannot serve to

support a fundamental right to nation-building, as Petitioners

allege.

                                    B.

          An alternative construction of Petitioners’ alleged

sovereign nation-building right would be to construe it within

the constitutional right to freedom of speech.          Although

Petitioners do not explicitly state that this is a freedom of
speech claim, they cite to numerous cases where freedom of speech

was at issue, including making arguments related to “prior

restraints” and “[s]ymbolic expression.”

          On this issue, the court properly decided in conclusion

no. 14 that Petitioners’ “purpose to claim and manage, control

and subsequently occupy Kaho#olawe involved conduct outside the

scope of any first amendment right to freedom of speech.”

(Emphasis added.)    In this case, Petitioners adduced evidence on

their Motion to Dismiss that managing and controlling Kaho#olawe
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was an important part of exercising their sovereignty, and that

they sought recognition as the sovereign native Hawaiian entity.

However, Petitioners’ actions do not necessarily amount to

“speech”.

             Several Hawai#i cases support this conclusion.            In

State v. Jim, 105 Hawai#i 319, 97 P.3d 395 (App. 2004), for

example, the defendant claimed that his physical presence
preventing county water supply workers from investigating an

illegal water line was a protest.           105 Hawai#i at 326, 97 P.3d at

402.    The ICA held that the defendant’s conduct, physically

obstructing lawful work, did not constitute speech for which

first amendment protections were available.             Id. at 334, 97 P.3d

at 410.

             In Kleinjans v. Lombardi, 52 Haw. 427, 478 P.2d 320
(1970), this court considered the propriety of an injunction

prohibiting certain forms of student demonstrations, specifically

occupation of the university chancellor’s office.              52 Haw. at
428, 478 P.2d at 322.        Kleinjans held that by occupying the

university office, the defendants were engaged in conduct that

did not constitute speech because, “[t]heir protest did not take

the form of a public rally but instead involved the occupation of

the private office of a university official.             There could not be

any good faith claim that this area was open to the public for

the purpose of expressing dissident ideas.”             Id. at 433, 478 P.2d

at 324.


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            Similarly, here, Petitioners cannot claim that the

Reserve was an area “open to the public for expression of ideas.”

Id.   Thus, although to some extent Petitioners apparently

intended to communicate through their presence on Kaho#olawe, it

cannot be deemed “speech” for purposes of the First Amendment

freedom of speech protections.         See United States v. O’Brien, 391

U.S. 367, 376 (1968) (“We cannot accept the view that an
apparently limitless variety of conduct can be labeled ‘speech’

whenever the person engaging in the conduct intends thereby to

express an idea.”).       Therefore, Petitioners’ claim that the

regulations unconstitutionally abridged their right to establish

a sovereign nation is incorrect.

                                     XII.

            Second, Petitioners argue abridgment of their

constitutional right under the Hawai#i Constitution to engage in

traditional and customary native Hawaiian practices.              This right

is unique to this State, and therefore an alleged abridgment of
this right is analyzed under Hawai#i’s jurisprudence.             See, e.g.,

Ka Pa#akai O Ka#Aina v. Land Use Comm’n, 94 Hawai#i 31, 7 P.3d

1068, 1083 (2000) (“‘[T]he State is obligated to protect the

reasonable exercise of customarily and traditionally exercised

rights of Hawaiians to the extent feasible.’”) (emphasis omitted)

(quoting PASH, 79 Hawai#i at 450 n.43, 903 P.2d at 1271 n.43).

            This court has constructed the right to engage in

traditional and customary native Hawaiian practices as “an

attempt on the part of the framers of [HRS § 1-1] to avoid
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results inappropriate to the isles’ inhabitants by permitting the

continuance of native understandings and practices which did not

unreasonably interfere with the spirit of the common law.”

Kalipi v. Hawaiian Trust Co., 66 Haw. 1, 10, 656 P.2d 745, 751
(1982).    Kalipi further stated that “the retention of a Hawaiian

tradition should in each case be determined by balancing the

respective interests and harm once it is established that the
application of the custom has continued in a particular area.”

Id.   Accordingly, in Ka Pa#akai O Ka#Aina, it was held that the

State and its agencies “may not act without independently

considering the effect of their actions on Hawaiian traditions

and practices.”      94 Hawai#i at 46, 7 P.3d at 1083.

            In this case, the KIRC did consider the effect of its

actions on Hawaiian traditions and practices when it promulgated

HAR §§ 13-261-10 and -11.        This consideration is apparent in the

exception in HAR §§ 13-261-10 and -11 specifically mentioning

“[e]ntrance into and activities within the reserve requested by
applicants seeking to exercise traditional and customary rights

and practices compatible with the law[.]”           HAR § 13-261-11.

Further, as discussed supra, with respect to Petitioners’

“privilege defense,” the State’s interest as balanced against the

potential harm to Petitioners’ ability to engage in native

Hawaiian traditional and customary practices weighs in favor of

the State.     As a result, Petitioners cannot claim that HAR §§ 13-

261-10 or -11 is unconstitutional on this basis.


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                                      XIII.

             Third, Petitioners state that their right to practice

religion was infringed by the subject regulations.              This argument

may be analyzed under the framework of the free exercise clause.

See U.S. Const. amend. I (“Congress shall make no law respecting

an establishment of religion, or prohibiting the free exercise

thereof[.]”); Haw. Const. art. I, § 4 (“No law shall be enacted
respecting an establishment of religion, or prohibiting the free

exercise thereof[.]”).

                                       A.

             In State v. Sunderland, 115 Hawai#i 396, 168 P.3d 526
(2007), this court discussed at length challenges to laws on the

grounds that they violate the constitutional right to free

exercise of religion.        115 Hawai#i at 401-404, 168 P.3d at 531-

534.    It was concluded that, in accordance with the U.S. Supreme

Court’s decision in Employment Div., Dept. of Human Resources of

Oregon v. Smith, 494 U.S. 872 (1990), “a generally applicable law
is not subject to First Amendment attack unless (1) it interferes

with ‘the Free Exercise Clause in conjunction with other

constitutional protections,’ or (2) it creates a mechanism that

calls for ‘individualized governmental assessment of the reasons

for the relevant conduct[]’ (i.e., individualized exemptions).”

Sunderland, 115 Hawai#i at 404, 168 P.3d at 534 (emphases added)

(quoting Smith, 494 U.S. at 884).           Sunderland held that the

criminal statute making it an offense to knowingly possess

marijuana, HRS § 712-1249 (1993), was generally applicable, and
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therefore, following Smith, was not subject to a First Amendment

attack.   Id.

           In this case, although HAR § 13-261-10 initially seems

like a “generally applicable law”, similar to the generally

applicable criminal statute that was at issue in Sunderland, the

regulation also appears to “create[] a mechanism that calls for

individualized government assessment of the reasons for the
relevant conduct,” id. (internal quotation marks and citations

omitted), through its reference to HAR § 13-261-11.           To

reiterate, HAR § 13-261-10(a) states that entrance to the reserve

is not permitted unless “specifically authorized” and that the

process for that authorization is set forth in HAR § 13-261-11.

Although, as noted, Petitioners lack standing to directly

challenge the constitutionality of HAR § 13-261-11, the language

from Sunderland states that Smith will apply unless the law

“creates” a mechanism for individualized assessment.            Id.

(emphasis added).    A mechanism is “created” via HAR § 13-261-11
for the KIRC to individually assess whether to allow a person or

group to enter the Reserve.

           Where there is an individualized assessment, as in this

case, then the U.S. Supreme Court’s test set forth in Sherbert v.

Verner, 374 U.S. 398 (1963), is applicable.          See Smith, 494 U.S.

at 884 (“The Sherbert test . . . was developed in a context that

lent itself to individualized government assessment of the

reasons for the relevant conduct.”).        Under the Sherbert test, if

a particular law imposes a burden upon the free exercise of
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religion, judicial scrutiny is triggered, the regulation must be

justified with a compelling government interest, and the

government has the burden of demonstrating “that no alternative

forms of regulation would combat such abuses without infringing

First Amendment rights.”         Id. at 404-407.

             To the extent that Petitioners and the State argue that

various other presumptions should apply with respect to
determining the constitutionality of the regulation, it is noted

that under the circumstances presented by this case, the Sherbert

test is consistent with the general proposition advanced by

Petitioners, and articulated in Child Support Enforcement Agency,

quoted supra.      That proposition is that the presumption of

statutory constitutionality does not apply to laws that classify

on the basis of suspect categories or impinge on fundamental

rights expressly or impliedly granted by the constitution.                Child

Support Enforcement Agency, 109 Hawai#i at 246, 125 P.3d at 467

(citation omitted).        “Such laws are presumed to be
unconstitutional unless the state shows compelling state

interests which justify such classifications, and that the laws

are narrowly drawn to avoid unnecessary abridgments of

constitutional rights.”        Id. (emphasis in original) (citing Baehr

v. Lewin, 74 Haw. 530, 571-72, 852 P.2d 44, 63-64 (1993)) (other

citations omitted).        This description of the constitutional

strict scrutiny test is consistent with the test applied by the

U.S. Supreme Court in Sherbert.          See Sherbert, 374 U.S. at 404-

407.
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                                       B.

             In applying the strict scrutiny analysis, the first

question is whether HAR § 13-261-10 burdened the free exercise of

religion.      On this point, the court concluded that Petitioners

“did not prove their deprivation of a right to free exercise of

religion, because their testimony and evidence failed to

establish ‘that such practice is an integral part of a religious
faith and that the prohibition . . . results in a virtual

inhibition of the religion or the practice of the faith.”

(Emphasis in original.) (Quoting Blake, 5 Haw. App. at 417, 695

P.2d at 340 (citation omitted).)

             It is initially observed that this standard from Blake

cited in the court’s conclusions is not applicable to determining

whether HAR § 13-261-10 burdened Petitioners’ exercise of

religion.      Specifically, Petitioners need not show that the

regulation resulted in “a virtual inhibition of the religion or

practice of the faith.”        Blake, 5 Haw. App. at 417, 695 P.2d at
340.    In Blake, the ICA adopted this standard from a California

Court of Appeal case, People v. Mullins, 123 Cal.Rptr. 201
(1975), which considered the constitutionality of a generally

applicable regulation.        The Mullins court interpreted the first

step in the Sherbert test to require two separate determinations

-- first, whether “the statute imposes any burden upon the free

exercise of the religion whose religious beliefs the defendant

asserts he embraces and [second,] whether the defendant actually

engaged in good faith in that religion.”            123 Cal.Rptr. at 207.
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Mullins went on to state that “we note, here, that where it is

claimed that the use of a narcotic, drug or an hallucinogen which

the state proscribes is a religious practice, it must be

established that such practice is an integral part of a religious

faith and that the prohibition of the narcotic, drug, or

hallucinogen results in a virtual inhibition of the religion or

practice of the faith.”     Id. (emphases added).       Thus, the
“integral part” and “virtual inhibition of the religion or

practice of the faith” requirements were limited to cases where

the use of a regulated or prohibited narcotic, drug or

hallucinogen was at issue.      See id.    Blake properly applied these

requirements because in Blake, the defendant claimed that the use

of marijuana was a religious practice.         5 Haw. App. at 417, 695

P.2d 336.   However, in this case, there is no claim of a use of a

narcotic, drug, or hallucinogen, and thus the standards from

Blake cited by the court in its conclusion no. 19 are not

applicable.
            Instead, this court has held that “‘it [is] necessary

to examine whether or not the activity interfered with by the

state was motivated and rooted in a legitimate and sincerely held

religious belief [and] whether or not the parties’ free exercise

of religion had been burdened by the regulation[.]’”            Dedman v.

Bd. of Land &amp; Natural Res., 69 Haw. 255, 260, 740 P.2d 28, 32
(1987) (quoting State ex rel. Minami v. Andrews, 65 Haw. 289,

291, 651 P.2d 473, 474 (1982)).       In this case, the legitimacy of


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Petitioners’ religious belief need not be addressed.30

Similarly, it may be assumed that Petitioners’ activity was

rooted in a legitimate and sincerely held belief.             However, it

appears that Petitioners cannot show that their free exercise of

religion was burdened by HAR § 13-261-10.           Despite Petitioners’

argument in their brief that they traveled to Kaho#olawe “to

allow representatives of the Reinstated Hawaiian Government to
build a heiau and perform a prayer on the site,” among other

things, the record does not support a conclusion that

Petitioners’ exercise of religion was burdened by the limitations

imposed by the government on travel to Kaho#olawe.

            First, a review of the record suggests that Petitioners

engaged in religious practices as part of their purpose of

managing and controlling Kaho#olawe and/or establishing a native

Hawaiian sovereign entity, but that such practices did not have

to take place on Kaho#olawe as part of the practice of their

religion.    Noa testified that Petitioners had planned to
undertake a religious ceremony on Kaho#olawe in connection with


     30
            With respect to his religion, Noa testified as follows:

            [Counsel for Petitioners]:     Do you also practice a
            religion?

            [Noa]:      You know, that’s an interesting point, yeah,
            religion. And in Hawai#i, I think if you recognize our
            Constitutions in the Kingdom, it basically said that every
            man, person, could practice his own religion. Okay. So as
            far as Hawai#i having, I guess you could say a central
            religion, yeah, I think that it evolved through the
            constitutions. And I thought that was quite amenable on
            behalf of our monarchs to make that happen in Hawai#i.
            Because prior to that there was definitely a religion that
            was practiced in Hawai#i, and it was called the Kaku system.
            And that in itself was religious practice.
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their presence on the Reserve, as follows:
                [Noa]:      And we went [to Kaho#olawe], again,
          understanding that our intent is to be recognized, yeah, who
          we are as a people, as a nation, to exercise our right as a
          nation.

                [Counsel for Petitioners]: Okay. And that --
          the right you went there to exercise, am I correct,
          that that was the right to claim the -- you were only
          at that point on that exercise claiming the limited
          right to claim management and control of Kaho#olawe?

                [Noa]: That’s correct. And, of course, I felt even
          stronger than that, you know. I believe that that also --
          that we extended that exercise believing that we are going
          to initiate now the claims, you know, to Kaho#olawe.

                [Counsel for Petitioners]: Right.
                And when you got there, did you undertake any sort of
          a religious endeavor or ceremony?

                [Noa]:      In our traditional practice, in our
          culture, it is -- it is well understood that when you have
          an event, be it a small event or a large event, you always
          pay respect, okay, to your ancestors, to your various Gods
          that our religion has, or even just to Akua itself.
                So when we -- before we left, we already had a plan
          that we would institute protocol. And a part of protocol is
          to ask, yeah, our ancestors to welcome us to the islands,
          and we do that through prayer. And that’s what we did when
          we arrived, okay. And a part of our -- a part of our
          traditional protocol in our case, because we are a nation
          that’s coming into being, we had already decided that we
          would build an ahu to signify our arrival, our arrival, our
          accomplishment.

                [Counsel for Petitioners]:   And, for the record, what
          is an “ahu”?

                [Noa]:      An “ahu” is an altar. Okay. You can have
          personal ahus, you can have community ahus, and you can have
          national ahus. Okay. Some of the national ahus are
          referred to as hales.
                But, this is, like I said, a sacred place. This is
          where you reveal your sincerity, you invoke support from
          your ama kuas, from your ancestors. This is where you come
          to give thanksgiving to provide ho#okupu.

                [Counsel for Petitioners]:    And was there, among
          either just you or collectively, was there a religious
          calling to do this when you got there, or --

                [Noa]:      Most definitely. I mean, it’s a part of
          us. You know, when you lose an identity, you lose a nation,
          you lose who you are. So to maintain that, you have only
          the spirit, you know. You can look at me physically, but if
          I don’t have a country, hell, I believe -- excuse my
          language, I believe that -- I’m not here. Spiritually I’m
          here, but physically I have to be reconnected back to my
          country. Who am I? I am a Hawaiian. I’m a Kanaka maoli,

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          Native Hawaiian, and today I cannot claim that. You know,
          so I have to design, you have to build our nation so that we
          can fix that problem. It’s a problem that we live with. I
          don’t care who you are as a Kanaka, you have that problem,
          and that is you cannot claim sovereignty in your own country
          until you fulfill that obligation. And, I mean, I believe
          we have Kanakas sitting right here in this courtroom who
          truly believe that we will never acquire independence.
                You know, that’s something that I live with, I
          understand, but they need to respect what we believe in, and
          that’s what we do.

                [Counsel for Petitioners]:    Now, I want to get back
          to this ceremony for a moment, the religious ceremony on the
          island.
                You have talked about our religion, and to -- in your
          knowledge and understanding, was that a -- I think you
          mentioned a traditional and customary religious ceremony?

                  [Noa]:      You know, it is a customary practice,
          okay.

                 [Counsel for Petitioners]:   Okay. And prior to
          1893, do you believe that was practiced on the Island of
          Kaho#olawe?

                  [Noa]:      Most certainly.

                  [Counsel for Petitioners]:    That type of ceremony?

                 [Noa]:      Definitely. There are ahus set on the
          island. Personally I have not seen those, but I have been
          shown myself. I’ve been shown photographs. They even have
          -- Kaho#olawe also represents, this is -- forgive me for not
          remembering, but there is a point on Kaho#olawe that all the
          navigators, yeah, that sail in the Pacific from Hawai#i go
          back to the Pacific will go to Kaho#olawe and they will
          arrive. Kealaikahiki is a channel, and there is point on
          Kaho#olawe, and that point is a heiau, it has an ahu that
          was built centuries ago, and that’s for our sailing
          purposes, our navigators, you know. They would go there and
          offer up their ho#okupus, their services, so they would
          receive protection, the strength that they would need. And
          the island has many, many altars.

          . . . .

                 [Counsel for Petitioners]:    When you   went to
          Kaho#olawe, did you go there as an individual   with the
          intention of breaking some state regulation,    or did you go
          there primarily for the purposes that you’ve    testified to
          today?

                [Noa]:      No. We went there primarily for the
          purposes that I speak about today, that once we fulfilled
          our obligation as a nation, I truly believe that it is now
          the nation’s responsibility to exercise, you know, that
          sovereign powers.

(Emphases added.)

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            While the foregoing testimony may establish that

Petitioners were engaging in customary and traditional practices

on the island, including religious practices, the testimony

indicates that the practices were in connection with Petitioners’

sovereign nation-building activity.        For example, Noa testified

that “when you have an event” you undertake certain activities,

and that “as part of our protocol” “because we are a nation
that’s coming into being, we had already decided that we would

build an ahu to signify our arrival.”        (Emphasis added.)      Noa

further testified that there are many altars on Kaho#olawe, but

he did not testify that Petitioners needed to go to Kaho#olawe

because of these altars or any other religiously significant

areas.

            Second, even if Petitioners had to travel to Kaho#olawe

in order to practice their religion, it does not appear that

government regulations HAR §§ 13-261-10 and -11, requiring a

written application process to go to the island, created a
substantial burden on Petitioners’ practice of religion.            See

Adler, 108 Hawai#i at 177, 118 P.3d at 660 (“Appellants must show

a ‘substantial burden’ on religious interests.”) (citation

omitted); see also Sherbert, 274 U.S. at 406 (“We must next

consider whether some compelling state interest . . .            justifies

the substantial infringement of appellants First Amendment

right.”).    HAR § 13-261-11 provides that written application

forms may be obtained from the commission office, and the written

application requires fairly standard information, including,
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inter alia, the number and names of individuals who will

participate in the requested entrance, a signed liability waiver,

description of the purposes and activities associated with the

entrance, and information pertinent to the exercise of

traditional and customary rights, if such rights are claimed.

See HAR 13-261-11(a).     Such a process cannot be said to

“substantially burden” the exercise of religion.           While “‘[t]he
door of the Free Exercise Clause stands tightly closed against

any governmental regulation of religious beliefs as such []’”,

Koolau Baptist Church v. Dep’t of Labor &amp; Indus. Relations, 68

Haw. 410, 718 P.2d 267 (1986) (quoting Sherbert, 374 U.S. at 402
(emphasis in original)), “‘the freedom to act, even when the

action is in accord with one’s religious convictions, is not

totally free from legislative restrictions[,]’” id. (quoting

Braunfeld v. Brown, 366 U.S. 599, 603 (1961).

                                    C.

          Having concluded that Petitioners practice of religion
was not substantially burdened by HAR §§ 13-261-10 and -11, the

remainder of the Sherbert test need not be applied.           Therefore,

there is no need to determine if the regulations are justified

with a compelling state interest or whether the regulations are

narrowly tailored to satisfy that interest.          Accordingly, under

these circumstances, the regulations under HAR §§ 13-261-10 and

-11 do not unconstitutionally burden Petitioners’ right to

practice their religion.


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                                    XIV.

          Based on the foregoing, the July 17, 2013 judgment of

the ICA and the April 3, 2009 judgments of the court as to

Armitage, Kahookele, and Noa are vacated, and the case is remanded

to the court for disposition consistent with this opinion.

Daniel G. Hempey,                    /s/ Simeon R. Acoba, Jr.
for petitioners
                                     /s/ Sabrina S. McKenna
Renee Ishikawa Delizo
(on the briefs),                     /s/ Richard W. Pollack
for respondent




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